                                                           Objection Deadline: April 14, 2023

BURNS BAIR LLP
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Special Insurance Counsel to the Official Committee
of Unsecured Creditors of The Roman Catholic Diocese
of Rockville Centre, New York

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


 In re:                                                       Chapter 11
 THE ROMAN CATHOLIC DIOCESE OF                                Case No. 20-12345 (MG)
 ROCKVILLE CENTRE, NEW YORK,
                     Debtor.


       TWENTY-EIGHTH MONTHLY FEE STATEMENT OF BURNS BAIR LLP,
      AS SPECIAL INSURANCE COUNSEL TO THE OFFICIAL COMMITTEE OF
       UNSECURED CREDITORS FOR PROFESSIONAL SERVICES RENDERED
           AND DISBURSEMENTS INCURRED FOR THE PERIOD FROM
               FEBRUARY 1, 2023 THROUGH FEBRUARY 28, 2023

 Name of Applicant:                              Burns Bair LLP

 Authorized to Provide Professional              Official Committee of Unsecured Creditors
 Services to:
 Date of Retention:                              Effective October 29, 2020 pursuant to Order
                                                 dated December 9, 2020 [Docket No. 246]
 Period for which compensation and
                                                 February 1, 2023 – February 28, 2023
 reimbursement is sought:
 Amount of Compensation sought as actual,        $66,481.50
 reasonable, and necessary:                      80% of which is $53,185.20
 Amount of Expense Reimbursement sought
                                                 $435.30
 as actual, reasonable, and necessary:
 TOTAL (80% of fees and 100% of costs)           $53,620.50

This is the Twenty-Eighth Monthly Fee Statement.



DOCS_LA:348320.2 18491/002
                                   PRELIMINARY STATEMENT

        Burns Bair LLP (“Burns Bair”), as Special Insurance Counsel to the Official Committee of

Unsecured Creditors (the “Committee”) of The Roman Catholic Diocese of Rockville Centre, New

York (the “Debtor”), hereby submits this twenty-eighth monthly statement (the “Monthly

Statement”) for the period from February 1, 2023 through February 28, 2023 (the “Statement

Period”) for payment of professional services rendered and reimbursement of expenses incurred

during the Statement Period pursuant to the Court’s Order Authorizing Procedures for Interim

Compensation and Reimbursement of Expenses of Professionals dated November 4, 2020 [Docket

No. 129] (the “Interim Compensation Order”). Burns Bair requests: (a) interim allowance and

payment of compensation in the amount of $53,185.20 (80% of $66,481.50) of fees on account of

reasonable and necessary professional services rendered to the Committee by Burns Bair and (b)

reimbursement of actual and necessary costs and expenses in the amount of $435.30.

        FEES FOR SERVICES RENDERED DURING THE STATEMENT PERIOD

        1.       Set forth below is a list of the positions of the Burns Bair professionals and

paraprofessionals who provided services to the Committee during the Statement Period, their

respective billing rates, and the aggregate hours spent by each professional and paraprofessional

in providing services on behalf of the Committee during the Statement Period.

                                                                              Total
                                           Year of      Year of     Hourly                Total
          Name                 Title                                          Hours
                                         Partnership   Admission     Rate              Compensation
                                                                              Billed
Timothy Burns                 Partner       2008         1991        $975      27.20     $26,520.00
Jesse Bair                    Partner       2020         2013        $625      33.90     $21,187.50
Nathan Kuenzi                Associate      N/A          2020        $420      17.80      $7,476.00
Brian Cawley                 Associate      N/A          2020        $420      5.40       $2,268.00
Leakhena Au                  Associate      N/A          2020        $420      17.30      $7,266.00
Alyssa Turgeon               Paralegal      N/A          N/A        $360.00     .10         $36.00
Karen Dempski                Paralegal      N/A          N/A        $360.00    1.70        $612.00
Brenda Horn-Edwards          Paralegal      N/A          N/A        $360.00    3.10       $1,116.00
                                                                   TOTAL:     106.50     $66,481.50

        2.       The rates charged by Burns Bair for services rendered to the Committee are the

same rates that it charges generally for professional services rendered to its non-bankruptcy clients.
                                                   2
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A complete itemization of tasks performed by these professionals and paraprofessionals for the

Statement Period is annexed hereto as Exhibit A.

                EXPENSES INCURRED DURING THE STATEMENT PERIOD

        3.       Set forth below is a categorical list of expenses incurred by Burns Bair during the

Statement Period in the course of representing the Committee.

 Date             Description                                                            Amount
 2/9/2023         Wisconsin Certificate of Good Standing, J. Bair                         $3.05
 2/9/2023         Illinois Certificate of Good Standing, T. Burns                         $16.00
 2/9/2023         Missouri Certificate of Good Standing, T. Burns                         $16.25
 2/16/2023        Pro Hac Vice admission, J. Bair                                        $200.00
 2/24/2023        Pro Hac Vice admission, T, Burns                                       $200.00
                                                                           TOTAL:        $435.30

                              NOTICE AND OBJECTION PROCEDURES

        4.       No trustee or examiner has been appointed in these chapter 11 cases. Pursuant to

the Interim Compensation Order, Burns Bair has provided notice of this statement upon the

following parties (the “Application Recipients”) by electronic or first class mail: (a) the Debtor c/o

The Roman Catholic Diocese of Rockville Centre, 50 N Park Ave P.O. Box 9023, Rockville

Centre, NY 11571-9023 (Attn: Thomas Renker); (b) the attorneys for the Debtor, Jones Day, 250

Vesey Street, New York, NY 10281 (Attn: Corinne Ball, Esq., Benjamin Rosenblum, Esq. and

Andrew M. Butler, Esq.); and (c) the Office of the United States Trustee Region 2, 201 Varick

Street, Suite 1006, New York, NY 10014 (Attn: Greg Zipes, Esq. and Shara Cornell, Esq.). Burns

Bair submits that no other or further notice need be provided.

        5.       Pursuant to the Interim Compensation Order, objections to this Monthly Statement,

if any, must be served upon the Application Recipients and the undersigned counsel at Burns Bair

by April 14, 2023 (the “Objection Deadline”) setting forth the nature of the objection and the

amount of fees or expenses at issue.

        6.       If no objections to this Monthly Statement are made on or before the Objection

Deadline, the Debtor shall pay Burns Bair 80% of the fees and 100% of the expenses set forth
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                                                              Objection Deadline: April 14, 2023

above. To the extent an objection to this Monthly Statement is timely made, the Debtor shall

withhold payment of that portion of the Monthly Statement to which the objection is directed and

promptly pay the remainder of the fees and disbursements in the percentages set forth above. To

the extent such objection is not resolved; it shall be preserved and presented to the Court at the

next interim or final fee application hearing.



Dated: March 30, 2023                            BURNS BAIR LLP

                                                  /s/ Timothy W. Burns                        .




                                                 Timothy W. Burns, Esq. (admitted pro hac vice)
                                                 Jesse J. Bair, Esq. (admitted pro hac vice)
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                                                 Madison, WI 53703-3392
                                                 Telephone: (608) 286-2808
                                                 Email: tburns@burnsbair.com
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                                                 Special Insurance Counsel to the Official
                                                 Committee of Unsecured Creditors of The Roman
                                                 Catholic Diocese of Rockville Centre, New York




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                             EXHIBIT A




DOCS_LA:348320.2 18491/002
                                       10 E. Doty St., Suite 600
                                     Madison, Wisconsin 53703-3392
                                             608-286-2302
                                          www.BurnsBair.com


The Official Committee of Unsecured Creditors of                          Issue Date :       3/21/2023
The Roman Catholic Diocese of Rockville Centre
                                                                                 Bill # :       01072



Matter: Insurance

                          PROFESSIONAL SERVICES RENDERED


Date      Timekeeper     Narrative                                                   Hours    Amount
2/1/2023 Leakhena Au     Supplemental analysis re additional insured entities        1.90      $798.00
                         under Ecclesia policies in connection with Plan issues
                         (1.9);
2/1/2023 Jesse Bair      Analyze Ecclesia other insured entities (.2); provide       0.50      $312.50
                         instructions to L. Au re additional analysis needed in
                         connection with same (.1); participate in call with B.
                         Michael re same (.2);
2/1/2023 Timothy Burns   Review correspondence between PSZJ and BB teams             0.20      $195.00
                         re Committee Plan exhibits (.2);
2/1/2023 Jesse Bair      Correspondence with Evanston and the Debtor re              0.10       $62.50
                         Committee reinstatement as a party in the Evanston
                         district court action (.1);
2/1/2023 Timothy Burns   Conference with L. Au re potential direct claims            0.10       $97.50
                         against the Diocese's insurers (.1);
2/1/2023 Jesse Bair      Review G. Greenwood correspondence re finalization          0.10       $62.50
                         of Committee preliminary injunction discovery
                         responses (.1);
2/1/2023 Jesse Bair      Participate in call with PSZJ team re Plan exhibits (.8);   0.80      $500.00
2/1/2023 Jesse Bair      Analyze and respond to state court counsel question re      0.20      $125.00
                         Debtor Plan insurance issues (.2);
2/1/2023 Jesse Bair      Draft amended version of the insurance policies Plan        0.60      $375.00
                         exhibit (.6);
2/1/2023 Jesse Bair      Review information re PSIP participants in connection       0.20      $125.00
                         with other insured entities analysis (.2);
2/1/2023 Timothy Burns   Review email from B. Michael re monthly operating           0.10       $97.50
                         report and related filings (.1);
2/1/2023 Leakhena Au     Continue analyzing case law re particular elements of       1.80      $756.00
                         potential direct claims against the Diocese's insurers
                         (1.8);
2/1/2023 Timothy Burns   Review correspondence between BB and opposing               0.20      $195.00
                         counsel re intervention in Evanston adversary
                         proceeding (.2);
2/1/2023 Jesse Bair      Review and edit revised version of the Amended            0.70   $437.50
                         Committee Plan (.7);
2/1/2023 Jesse Bair      Review the parties' joint sealing request re the Agreed   0.20   $125.00
                         Coverage Summary (.1); review correspondence with
                         the Debtor and Court re same (.1);
2/1/2023 Jesse Bair      Review revised version of the Committee Trust             0.30   $187.50
                         Agreement (.3);
2/2/2023 Jesse Bair      Participate in conference with T. Burns re insurance      0.20   $125.00
                         strategy and potential next-steps (.2);
2/2/2023 Jesse Bair      Review most recent iteration of the Committee             0.70   $437.50
                         amended Plan (.5); draft proposed additional
                         insurance language for inclusion in same (.2);
2/2/2023 Leakhena Au     Continue drafting memorandum re potential direct          2.00   $840.00
                         claims against the Diocese's insurers (2.0);
2/2/2023 Leakhena Au     Continue drafting revised version of memorandum re        0.90   $378.00
                         potential direct claims against the Diocese's insurers
                         (.9);
2/2/2023 Jesse Bair      Review Debtor information re SIRs for non-abuse           0.10    $62.50
                         claims (.1);
2/2/2023 Jesse Bair      Review revised version of the Committee Disclosure        0.50   $312.50
                         Statement (.5);
2/2/2023 Jesse Bair      Review agenda for upcoming state court counsel            0.10    $62.50
                         meeting (.1);
2/2/2023 Jesse Bair      Review correspondence with PSZJ and state court           0.10    $62.50
                         counsel re potential abuse claims reviewers (.1);
2/2/2023 Jesse Bair      Review correspondence with B. Michael re additional       0.10    $62.50
                         revised insurance language for Amended Committee
                         Plan (.1);
2/2/2023 Timothy Burns   Participate in conference with J. Bair re insurance       0.20   $195.00
                         strategy and potential next-steps (.2);
2/2/2023 Jesse Bair      Review revised version of Committee work-in-              0.10    $62.50
                         progress list (.1);
2/3/2023 Jesse Bair      Review the Diocese's preliminary injunction request for   0.10    $62.50
                         admission responses (.1);
2/3/2023 Jesse Bair      Review the Diocese's preliminary injunction requests      0.10    $62.50
                         for production responses (.1);
2/3/2023 Leakhena Au     Analysis re potential revisions to memorandum re          0.20    $84.00
                         potential direct claims against the Diocese's insurers
                         (.2);
2/3/2023 Jesse Bair      Review B. Michael correspondence to the Committee         0.10    $62.50
                         re the Committee's First Amended Plan and
                         Disclosure Statement (,1);
2/3/2023 Jesse Bair      Review Arrowood's amended answer, affirmative             0.70   $437.50
                         defenses, and counterclaim (.7);
2/3/2023 Timothy Burns   Review the Committee's amended disclosure                 0.40   $390.00
                         statement (.4);
2/3/2023 Jesse Bair      Review B. Michael correspondence re draft allocation      0.10    $62.50
                         protocols (.1);
2/3/2023 Jesse Bair      Review final version of the Committee's preliminary       0.10    $62.50
                         injunction discovery responses to the Diocese (.1);
2/3/2023 Jesse Bair       Review the Diocese's preliminary injunction               0.20    $125.00
                          interrogatory responses (.2);
2/3/2023 Jesse Bair       Review the Diocese's answer to Arrowood's amended         0.20    $125.00
                          counterclaim (.2);
2/3/2023 Jesse Bair       Review Order granting the parties' joint motion to seal   0.10     $62.50
                          and redacted Agreed Coverage Summary (.1);
2/3/2023 Timothy Burns    Review correspondence between PSZJ and state              0.20    $195.00
                          court counsel re Committee plan disclosure issues
                          (.2);
2/3/2023 Jesse Bair       Participate in state court counsel meeting re ongoing     1.20    $750.00
                          case issues (1.2);
2/3/2023 Leakhena Au      Continue analyzing factual information regarding          2.00    $840.00
                          potential direct claims against the Diocese's insurers
                          (2.0);
2/3/2023 Karen Dempski    Download/upload recently produced Diocesan                0.40    $144.00
                          discovery production (.4);
2/3/2023 Leakhena Au      Continue analyzing legal issues in connection with        1.10    $462.00
                          potential direct claims against the Diocese's insurers
                          (1.1);
2/3/2023 Timothy Burns    Review emails between PSZJ and BB re first                0.20    $195.00
                          amended plan draft (.2);
2/3/2023 Timothy Burns    Participate in state court counsel meeting re ongoing     1.20   $1,170.00
                          case issues (1.2);
2/3/2023 Timothy Burns    Review correspondence from PSZJ to the Committee          0.10     $97.50
                          re amended disclosure statement (.1);
2/5/2023 Jesse Bair       Analyze and respond to K. Brown question re Diocese       0.20    $125.00
                          preliminary injunction responses re Arrowood (.2);
2/6/2023 Leakhena Au      Continue analyzing factual information regarding          1.20    $504.00
                          potential direct claims against the Diocese's insurers
                          (1.2);
2/6/2023 Jesse Bair       Review the Diocese's omnibus objection to released        0.30    $187.50
                          or dismissed claims (.2); review associated Renker
                          declaration (.1);
2/6/2023 Leakhena Au      Participate in internal BB team conference re             0.10     $42.00
                          assignments and case developments (.1);
2/6/2023 Nathan Kuenzi    Participate in internal BB team conference re case        0.10     $42.00
                          status and associated research projects (.1);
2/6/2023 Nathan Kuenzi    Analyze POC information in connection with ongoing        0.40    $168.00
                          case insurance issues (.4);
2/6/2023 Timothy Burns    Participate in internal BB team conference re             0.10     $97.50
                          assignments and case developments (.1);
2/6/2023 Brian Cawley     Participate in team meeting regarding case status and     0.10     $42.00
                          assignments (.1);
2/6/2023 Alyssa Turgeon   Participate in internal BB team conference re case        0.10     $36.00
                          status and associated research projects (.1);
2/6/2023 Leakhena Au      Continue analyzing legal issues in connection with        1.10    $462.00
                          potential direct claims against the Diocese's insurers
                          (1.1);
2/6/2023 Jesse Bair       Participate in internal BB team conference re case        0.10     $62.50
                          status and associated research projects (.1);
2/6/2023 Jesse Bair    Review the Debtor's omnibus objection to duplicate or      0.20   $125.00
                       amended claims (.2);
2/7/2023 Timothy Burns Review claim withdrawal filed by particular state court    0.10    $97.50
                       counsel.1);
2/7/2023 Jesse Bair    Correspondence with Evanston re Committee                  0.10    $62.50
                       reinstatement as a party in the Evanston district court
                       action (.1);
2/7/2023 Leakhena Au Continue analyzing factual information regarding             2.00   $840.00
                       potential direct claims against the Diocese's insurers
                       (2.0);
2/7/2023 Timothy Burns Review emails between BB and PSZJ re preliminary           0.10    $97.50
                       injunction opposition brief edits (.1);
2/7/2023 Jesse Bair    Provide instructions to B. Horn re preparing draft of      0.10    $62.50
                       BB's seventh interim fee application (.1);
2/7/2023 Jesse Bair    Review correspondence with B. Michael and the              0.10    $62.50
                       Committee re potential Department of Education
                       counter (.1);
2/7/2023 Jesse Bair    Review correspondence from the Court and K. Brown          0.10    $62.50
                       re February 21 Plan-related status conference (.1);
2/7/2023 Timothy Burns Review PSIP monthly information received from the          0.10    $97.50
                       Diocese (.1);
2/7/2023 Timothy Burns Review correspondence from B. Michael to                   0.10    $97.50
                       Committee re DOE settlement discussions (.1);
2/7/2023 Leakhena Au Draft revised memorandum re potential direct                 1.80   $756.00
                       claims against the Diocese's insurers in light of
                       supplemental research results (1.8);
2/7/2023 Jesse Bair    Review debtor monthly PSIP information (.1);               0.10    $62.50
2/7/2023 Leakhena Au Review insurer coverage position letters in connection       1.00   $420.00
                       with potential direct claims against the Diocese's
                       insurers (1.0);
2/8/2023 Jesse Bair    Correspondence with Evanston re Committee                  0.10    $62.50
                       reinstatement as a party in the Evanston district court
                       action (.1);
2/8/2023 Nathan Kuenzi Begin supplemental analysis re the impact, if any, of      2.20   $924.00
                       prosecution of particular state court actions in
                       connection with preliminary injunction briefing (2.2);
2/8/2023 Jesse Bair    Review notice of hearing re February 21 status             0.10    $62.50
                       conference (.1);
2/8/2023 Nathan Kuenzi Participate in conference with J. Bair re preliminary      0.20    $84.00
                       injunction state court action insurance impacts, if any,
                       and supplemental analysis needed in connection with
                       same (.2);
2/8/2023 Jesse Bair    Draft proposed stipulation and Order reinstating the       0.40   $250.00
                       Committee as a party in the Evanston district court
                       action (.3); correspondence with PSZJ team re same
                       (.1);
2/8/2023 Jesse Bair     Review and respond to correspondence with G.               0.40    $250.00
                        Greenwood re preliminary injunction state court action
                        insurance impacts (.2); participate in conference with
                        N. Kuenzi re supplemental analysis needed in
                        connection with same (.2);
2/9/2023 Jesse Bair     Review and respond to correspondence with I. Nasatir       0.20    $125.00
                        and K. Brown re upcoming preliminary injunction
                        depositions (.2);
2/9/2023 Jesse Bair     Review correspondence from B. Michael re the               0.10     $62.50
                        Diocese's most recent round of claim objections (.1);
2/9/2023 Nathan Kuenzi Continue supplemental analysis re the impact, if any, of    1.90    $798.00
                        prosecution of particular state court actions in
                        connection with preliminary injunction briefing (1.9);
2/9/2023 Jesse Bair     Review portion of the Diocese's recent preliminary         0.10     $62.50
                        injunction document production (.1);
2/9/2023 Jesse Bair     Correspondence with Evanston and the Debtor re draft       0.10     $62.50
                        stipulation and Order reinstating the Committee as a
                        party in the Evanston district court action (.1);
2/9/2023 Karen Dempski Draft pro hac vice submissions for T. Burns and J. Bair     0.80    $288.00
                        in the Evanston district court action (.8);
2/9/2023 Jesse Bair     Review agenda for upcoming state court counsel             0.10     $62.50
                        meeting (.1);
2/10/2023 Nathan Kuenzi Continue supplemental analysis re the impact, if any, of   3.00   $1,260.00
                        prosecution of particular state court actions in
                        connection with preliminary injunction briefing (3.0);
2/10/2023 Jesse Bair    Review correspondence with K. Brown and the                0.10     $62.50
                        Diocese re upcoming preliminary injunction
                        depositions (.1);
2/11/2023 Timothy Burns Review recent NY court decision on negligent retention     0.30    $292.50
                        and supervision claims re sexual abuse (.3);
2/11/2023 Timothy Burns Review email between B. Michael and state court            0.10     $97.50
                        counsel re preliminary injunction briefing issues (.1);
2/11/2023 Timothy Burns Review debtor's fifth omnibus objection and supporting     0.20    $195.00
                        declaration (.2);
2/11/2023 Timothy Burns Review Cemetery tolling stipulation and notice (.1);       0.10     $97.50
2/11/2023 Timothy Burns Review correspondence from E. Stephens re                  0.10     $97.50
                        preliminary injunction deposition scheduling and topics
                        of diocesan witnesses (.1);
2/11/2023 Timothy Burns Review correspondence between PSZJ and BB re               0.20    $195.00
                        claims objections (.2);
2/11/2023 Timothy Burns Review draft claims objection response (.1);               0.10     $97.50
2/11/2023 Timothy Burns Review email from B. Michael re claims objections          0.10     $97.50
                        procedures (.1);
2/11/2023 Timothy Burns Review correspondence between PSZJ and state               0.10     $97.50
                        court counsel re potential plan trustees (.1);
2/12/2023 Jesse Bair    Correspondence with I. Nasatir and B. Michael re           0.20    $125.00
                        insurance impacts, if any, of certain Diocese claims
                        objections (.1); correspondence with T. Burns re same
                        (.1);
2/12/2023 Jesse Bair      Analysis re strategy for upcoming insurance-related           0.20    $125.00
                          preliminary injunction depositions (.2);
2/12/2023 Jesse Bair      Review first amended stipulated tolling agreements            0.10     $62.50
                          with the DOE, Seminary, and Gemco (.1);
2/12/2023 Jesse Bair      Review the Diocese's fifth omnibus claims objection           0.30    $187.50
                          (.2); review Renker declaration in support of same (.1);
2/12/2023 Jesse Bair      Analysis re insurer information in connection with claim      0.60    $375.00
                          objection issues (.5); correspondence with B. Michael
                          re same (.1);
2/12/2023 Jesse Bair      Review correspondence from the Committee re                   0.10     $62.50
                          ongoing case issues (.1);
2/13/2023 Jesse Bair      Conference with T. Burns re insurance impacts, if any,        0.20    $125.00
                          of certain Diocese claims objections (.2);
2/13/2023 Timothy Burns   Participate in call with J. Bair re insurance impacts, if     0.20    $195.00
                          any, of certain Diocese claims objections (.2);
2/13/2023 Jesse Bair      Review email summary from N. Kuenzi re                        0.50    $312.50
                          supplemental analysis of CVA action insurance
                          impacts (.1); participate in conference with N. Kuenzi
                          re same and additional analysis needed in connection
                          with the Committee's preliminary injunction opposition
                          brief (.4);
2/13/2023 Jesse Bair      Review agenda for upcoming Committee meeting (.1);            0.10      $62.50
2/13/2023 Nathan Kuenzi   Additional analysis re the impact, if any, of prosecution     4.80   $2,016.00
                          of particular state court actions in connection with
                          preliminary injunction briefing (4.8);
2/13/2023 Jesse Bair      Review correspondence with state court counsel re             0.10     $62.50
                          future claim issues (.1);
2/13/2023 Nathan Kuenzi   Prepare for meeting with J. Bair (.1); participate in         0.50    $210.00
                          conference with J. Bair re additional analysis needed
                          in connection with the Committee's preliminary
                          injunction opposition brief (.4);
2/14/2023 Jesse Bair      Participate in call with N. Kuenzi re results of              0.10     $62.50
                          supplemental analysis re insurance impact, if any, of
                          litigation of particular state court actions again non-
                          debtor co-defendants (.1);
2/14/2023 Timothy Burns   Participate in portion of Committee meeting re plan           0.60    $585.00
                          issues (.6);
2/14/2023 Nathan Kuenzi   Finalize supplemental analysis re the impact, if any, of      4.50   $1,890.00
                          prosecution of particular state court actions in
                          connection with preliminary injunction briefing (4.5);
2/14/2023 Jesse Bair      Analyze email memorandum from N. Kuenzi re                    0.20    $125.00
                          supplemental analysis re insurance impact, if any, of
                          litigation of particular state court actions again non-
                          debtor co-defendants (.2);
2/14/2023 Nathan Kuenzi   Prepare for meeting with J. Bair (.1); participate in         0.20     $84.00
                          conference with J. Bair re supplemental analysis re
                          insurance impact, if any, of litigation of particular state
                          court actions again non-debtor co-defendants (.1);
2/14/2023 Jesse Bair      Participate in portion of Committee meeting re                0.20    $125.00
                          ongoing Plan issues (.2);
2/14/2023 Jesse Bair    Review and edit proposed stipulation and order               0.10    $62.50
                        reinstating the Committee as a party in the Evanston
                        district court action (.1);
2/14/2023 Jesse Bair    Draft letter to the Court regarding the Committee's          0.50   $312.50
                        reinstatement as party in the Evanston district court
                        action (.4); correspondence with the Debtor and
                        Evanston re same (.1);
2/14/2023 Jesse Bair    Additional analysis re the insurance impact, if any, of      0.50   $312.50
                        litigation of particular state court actions again non-
                        debtor co-defendants (.2); draft correspondence to G.
                        Greenwood summarizing findings re same (.3);
2/14/2023 Jesse Bair    Review and edit draft pro hac vice submissions in the        0.10    $62.50
                        Evanston district court action (.1);
2/14/2023 Jesse Bair    Review correspondence with state court counsel re            0.10    $62.50
                        future claim issues (.1);
2/15/2023 Timothy Burns Participate in call with J. Bair re preliminary injunction   0.20   $195.00
                        hearing and related deposition strategy (.2);
2/15/2023 Jesse Bair    Participate in conference with G. Greenwood re               0.30   $187.50
                        preliminary injunction insurance issues (.2); review
                        follow-up correspondence with G. Greenwood re same
                        (.1);
2/15/2023 Jesse Bair    Correspondence with PSZJ re upcoming preliminary             0.40   $250.00
                        injunction depositions (.2); participate in call with T.
                        Burns re preliminary injunction hearing and related
                        deposition strategy (.2);
2/15/2023 Jesse Bair    Review B. Michael correspondence re February 21              0.10    $62.50
                        Plan-related status conference (.1);
2/15/2023 Jesse Bair    Review recent appellate decision re insurer lack of          0.50   $312.50
                        standing to object to post-confirmation litigation trust
                        (.5);
2/15/2023 Timothy Burns Brief review of recent appellate decision re insurance       0.20   $195.00
                        neutrality of Plan issues (.2);
2/16/2023 Jesse Bair    Review Committee draft deposition notices to Porter,         0.10    $62.50
                        Moore, and Stephens (.1);
2/16/2023 Brenda Horn   Draft BB monthly fee statement (.6); generate and edit       0.80   $288.00
                        Exhibit A to same (.1); correspond with J. Bair re same
                        (.1);
2/16/2023 Brenda Horn   Draft BB seventh interim fee application (1.2), revise       2.30   $828.00
                        declaration of T. Burns re same (.2); draft related
                        exhibits (.8); correspond with J. Bair re same (.1);
2/16/2023 Karen Dempski Finalize and file pro hac vice submissions in Evanston       0.30   $108.00
                        district court action (.2); email J. Bair re same (.1);
2/16/2023 Jesse Bair    Participate in state court counsel meeting re Plan and       1.00   $625.00
                        other ongoing case issues (1.0);
2/16/2023 Jesse Bair    Correspondence with Evanston and the Diocese re              0.20   $125.00
                        finalization of Committee reinstatement stipulation and
                        letter to the Court (.1); correspondence with K.
                        Dempski re finalizing and filing same and J. Bair pro
                        hac vice materials (.1);
2/16/2023 Jesse Bair      Review the Diocese's amended complaint in the LMI           0.40   $250.00
                          district court action (.3); review LMI and Interstate's
                          motions for extension to respond to same (.1);
2/16/2023 Jesse Bair      Correspondence with B. Horn re BB's seventh interim         0.10    $62.50
                          fee application (.1);
2/16/2023 Jesse Bair      Review materials re recent Diocesan insurance               0.20   $125.00
                          activities (.2);
2/16/2023 Jesse Bair      Participate in weekly conference with PSZJ team re          0.90   $562.50
                          case strategy and ongoing litigation tasks (.9);
2/17/2023 Jesse Bair      Review the Committee's motion to amend the claim            0.20   $125.00
                          objection procedures and notice of hearing re same
                          (.2);
2/17/2023 Jesse Bair      Review various correspondence with B. Michael and           0.20   $125.00
                          state court counsel re future claim and Plan issues (.2);
2/18/2023 Timothy Burns   Review correspondence between PSZJ and state                0.20   $195.00
                          court counsel re future claims representative issues
                          (.2);
2/19/2023 Jesse Bair      Review correspondence with B. Michael and the               0.10    $62.50
                          Committee re future claim issues (.1);
2/20/2023 Jesse Bair      Review B. Michael correspondence re claim objection         0.10    $62.50
                          issues (.1);
2/20/2023 Jesse Bair      Review correspondence with B. Michael and state             0.10    $62.50
                          court counsel re future claim and Plan issues (.1);
2/20/2023 Jesse Bair      Analyze recent New York decision re negligent               0.40   $250.00
                          supervision liability for sexual abuse claims (.4).
2/21/2023 Jesse Bair      Review agenda for upcoming Committee meeting (.1);          0.10    $62.50
2/21/2023 Jesse Bair      Participate in portion of Committee meeting re              0.50   $312.50
                          ongoing case issues (.5);
2/21/2023 Jesse Bair      Review Order granting LMI and Lexington's motion for        0.10    $62.50
                          extension of time to respond to the Diocese's
                          amended complaint (.1);
2/21/2023 Timothy Burns   Participate in portion of Committee meeting re              0.70   $682.50
                          ongoing case issues (.7);
2/21/2023 Jesse Bair      Attend court status hearing re competing Plans (.7);        0.80   $500.00
                          participate in post-hearing conference with T. Burns re
                          outcome of same and potential next-steps (.1);
2/21/2023 Timothy Burns   Attend court status hearing re competing Plans (.7);        0.80   $780.00
                          participate in post-hearing conference with J. Bair re
                          outcome of same and potential next-steps (.1);
2/21/2023 Jesse Bair      Review Diocese letter re IRCP document production           0.10    $62.50
                          (.1);
2/21/2023 Jesse Bair      Review the Diocese's sixth omnibus claims objection         0.30   $187.50
                          (.2); review Renker declaration in support of same (.1);
2/21/2023 Jesse Bair      Review final version of Committee preliminary               0.10    $62.50
                          injunction deposition notices served on the Diocese
                          (.1);
2/22/2023 Jesse Bair      Review most recent version of the Committee's work-         0.10    $62.50
                          in-progress litigation task list (.1);
2/22/2023 Jesse Bair      Review the Diocese's seventh omnibus claims                 0.10    $62.50
                          objection (.1);
2/22/2023 Jesse Bair      Review correspondence with PSZJ and state court              0.20    $125.00
                          counsel re call to discuss potential judicial mediator
                          (.1); review information re the Diocese's suggested
                          candidate for judicial mediator (.1);
2/22/2023 Jesse Bair      Review and edit initial draft of the Committee's first       0.90    $562.50
                          omnibus objection to affiliate claims (.6); review J.
                          Elkins edits to same (.1); review J. Stang edits to
                          same (.1); review additional correspondence with
                          PSZJ re potential edits to same (.1);
2/23/2023 Jesse Bair      Review correspondence with the Debtor and PSZJ re            0.10     $62.50
                          potential judicial mediators (.1);
2/23/2023 Jesse Bair      Begin reviewing survivor response to the Diocese's           0.30    $187.50
                          fourth omnibus claims objection (.3);
2/23/2023 Jesse Bair      Review correspondence with G. Greenwood and K.               0.10     $62.50
                          Brown re DOE settlement status (.1);
2/23/2023 Timothy Burns   Brief review re the Diocese's sixth omnibus claims           0.20    $195.00
                          objection (.1); brief review re the Diocese's seventh
                          omnibus claims objection (.1);
2/23/2023 Jesse Bair      Participate in conference with PSZJ re work in               1.80   $1,125.00
                          progress issues and mediation strategy (1.8);
2/23/2023 Jesse Bair      Brief review re recent Diocese preliminary injunction        0.10     $62.50
                          document production (.1);
2/23/2023 Jesse Bair      Review Order reinstating the Committee as a party to         0.10     $62.50
                          the Evanston district court action and correspond with
                          PSZJ re same (.1);
2/23/2023 Jesse Bair      Prepare for state court counsel meeting re judicial          0.70    $437.50
                          mediator issues (.1); participate in state court counsel
                          meeting re same (.6);
2/23/2023 Timothy Burns   Review the Committee's draft affiliate claims objection      0.40    $390.00
                          motion (.4);
2/23/2023 Timothy Burns   Review email from B. Michael re mediator selection           0.10     $97.50
                          issues (.1);
2/24/2023 Timothy Burns   Review Committee reinstatement order in Evanston             0.10     $97.50
                          district court action (.1);
2/24/2023 Jesse Bair      Analyze proposed preliminary injunction insurance            1.10    $687.50
                          exhibits (.4); correspondence with G. Greenwood re
                          potential edits to same (.2); review revised versions of
                          preliminary injunction insurance exhibits (.3); additional
                          correspondence with G. Greenwood re same (.1);
                          review draft correspondence from G. Greenwood to
                          the Diocese re same (.1);
2/24/2023 Jesse Bair      Review correspondence with state court counsel and           0.20    $125.00
                          K. Dine re judicial mediator issues (.2);
2/24/2023 Timothy Burns   Email to J. Bair re insurance analysis assignment (.1);      0.10     $97.50
2/24/2023 Jesse Bair      Participate in conference with T. Burns re judicial          0.10     $62.50
                          mediator selection issues (.1);
2/24/2023 Timothy Burns   Review correspondence from G. Greenwood re                   0.10     $97.50
                          preliminary injunction exhibits (.1);
2/24/2023 Timothy Burns   Review correspondence from PSZJ re mediator                  0.10     $97.50
                          selection (.1);
2/24/2023 Timothy Burns Prepare for state court counsel meeting (.1);                0.80   $780.00
                        Participate in state court counsel meeting re mediation
                        issues (.6); participate in post-call with PSZJ and J.
                        Bair re outcome of state court counsel meeting and
                        next-steps (.1);
2/24/2023 Jesse Bair    Participate in state court counsel meeting re mediation      0.70   $437.50
                        issues (.6); participate in post-call with PSZJ and T.
                        Burns re outcome of state court counsel meeting and
                        next-steps (.1);
2/24/2023 Timothy Burns Initial review of Merson plaintiffs' opposition to           0.80   $780.00
                        Diocese's fourth omnibus claim objection (.8);
2/24/2023 Timothy Burns Review pro hac vice submission in Evanston district          0.10    $97.50
                        court action (.1);
2/24/2023 Karen Dempski Finalize and file pro hac vice submission for T. Burns in    0.20    $72.00
                        Evanston district court action (.2);
2/24/2023 Timothy Burns Review correspondence from state court counsel re            0.20   $195.00
                        mediator selection issues (.2);
2/24/2023 Timothy Burns Additional analysis re mediator selection issue (.1);        0.10    $97.50
2/24/2023 Timothy Burns Review correspondence from K. Brown re DOE                   0.10    $97.50
                        negotiation status (.1);
2/24/2023 Jesse Bair    Continue reviewing survivor response to the Diocese's        0.60   $375.00
                        fourth omnibus claims objection and related exhibits
                        (.3); correspondence with T. Burns re associate
                        research project re potential insurance impact, if any,
                        of claim objection issues (.1); provide instructions to B.
                        Cawley re same (.2);
2/24/2023 Timothy Burns Review correspondence from G. Greenwood re DOE               0.10    $97.50
                        negotiations (.1);
2/24/2023 Jesse Bair    Review correspondence with state court counsel re            0.10    $62.50
                        potential judicial mediator (.1);
2/24/2023 Brian Cawley Conference with J. Bair re potential insurance impact,        0.80   $336.00
                        if any, of claim objection issues (.2); conduct
                        supplemental research on New York
                        expected/intended and late notice law (.6);
2/25/2023 Timothy Burns Review correspondence from G. Greenwood to Jones             0.10    $97.50
                        Day re preliminary injunction hearing exhibits (.1);
2/25/2023 Jesse Bair    Review PSZJ memo re case next-steps re Plan and              0.10    $62.50
                        Disclosure Statement process (.1);
2/25/2023 Leakhena Au Analysis re insurance assignment issues (.2);                  0.20    $84.00
2/25/2023 Jesse Bair    Review PSZJ memo re status of FCC and cell tower             0.10    $62.50
                        sales (.1);
2/25/2023 Jesse Bair    Review correspondence with PSZJ and state court              0.10    $62.50
                        counsel re preliminary injunction issues and next-steps
                        with case litigation (.1);
2/25/2023 Jesse Bair    Review PSZJ letter to the Diocese re cell tower bid          0.10    $62.50
                        issues (.1);
2/25/2023 Timothy Burns Review draft stipulation re preliminary injunction           0.20   $195.00
                        evidence (.1); review related correspondence with G.
                        Greenwood re same (.1);
2/26/2023 Timothy Burns   Review and suggest revisions to draft opposition to PI      4.10   $3,997.50
                          Motion, along with review of case law related to
                          jurisdictional and merits aspects of motion (4.1);
2/26/2023 Jesse Bair      Review T. Burns correspondence re potential                 0.10     $62.50
                          insurance addition to the Committee's preliminary
                          injunction opposition brief (.1);
2/26/2023 Jesse Bair      Review additional correspondence with PSZJ and              0.10     $62.50
                          state court counsel re preliminary injunction issues and
                          next-steps with case litigation (.1);
2/27/2023 Jesse Bair      Review information regarding the Diocese's most             0.20    $125.00
                          recent suggestion for a judicial mediator (.1); review
                          correspondence with PSZJ and state court counsel re
                          same (.1);
2/27/2023 Timothy Burns   Further review of case law regarding preliminary            7.90   $7,702.50
                          injunction issues, including jurisdiction and automatic
                          stay issues (3.2); review of cases and analysis re SIR
                          issues, if any, for Committee plan analysis purposes
                          (.9); review of case law re cooperation duties re Plan
                          issues (1.6); analyze case law re good faith
                          requirement and TDPs re Committee plan issues
                          (2.2);
2/27/2023 Jesse Bair      Review draft outline for deposition of C. Moore (.4);       0.50    $312.50
                          review correspondence with J. Stang and state court
                          counsel re same (.1);
2/27/2023 Brian Cawley    Continue analyzing late notice and expected/intended        2.80   $1,176.00
                          issues under N.Y. law (1.3); analyze claim objection
                          briefing in connection with impact, if any, on insurer
                          coverage defenses (1.5);
2/27/2023 Jesse Bair      Correspondence with B. Michael re additional insured        0.10     $62.50
                          questions (.1);
2/27/2023 Jesse Bair      Review draft stipulation regarding the admissibility of     0.20    $125.00
                          certain proposed preliminary injunction exhibits (.1);
                          related analysis re additional potential insurance policy
                          exhibits (.1);
2/27/2023 Jesse Bair      Review revised draft of the Committee's first omnibus       0.30    $187.50
                          objection to parish POCs (.3);
2/28/2023 Jesse Bair      Participate in conference with T. Burns re preparations     0.10     $62.50
                          and strategy re upcoming Porter deposition (.1);
2/28/2023 Jesse Bair      Participate in conference with I. Nasatir re insurance      0.20    $125.00
                          Plan issues (.2);
2/28/2023 Jesse Bair      Review correspondence with B. Michael and state             0.10     $62.50
                          court counsel re judicial mediator issues (.1);
2/28/2023 Jesse Bair      Participate in additional conference with I. Nasatir re     0.20    $125.00
                          insurance mediation issues (.2);
2/28/2023 Jesse Bair      Review correspondence with B. Michael and the               0.10     $62.50
                          Committee re case update (.1);
2/28/2023 Timothy Burns   Further review of cases re good faith requirement and       4.00    $3,900.00
                          TDPs re UCC plan issues (3.7); review
                          correspondence between PSZJ and state court
                          counsel re potential judicial mediators and bio
                          materials (.2); review PSZJ update correspondence to
                          the Committee and state court counsel re ongoing
                          case developments (.1);
2/28/2023 Jesse Bair      Participate in conference with PSZJ and state court         0.90     $562.50
                          counsel re judicial mediator selection, preliminary
                          injunction briefing, and other ongoing litigation issues
                          (.8); participate in post-call with PSZJ re outcome of
                          meeting and next-steps (.1);
2/28/2023 Brian Cawley    Continue analyzing claim objection briefing in              1.70     $714.00
                          connection with impact, if any, on insurer coverage
                          defenses (.5 ); draft email memorandum summarizing
                          claim objection analysis results (1.2);
2/28/2023 Jesse Bair      Review LMI and the Diocese's joint status letter to         0.10       $62.50
                          Judge Cronan (.1);
Total Hours and Fees                                                                 106.50 $66,481.50

                                            EXPENSES


Date                      Description                                                          Amount
2/9/2023                  Wisconsin Certificate of Good Standing, J. Bair                        $3.05
2/9/2023                  Illinois Certificate of Good Standing, T. Burns                       $16.00
2/9/2023                  Missouri Certificate of Good Standing, T. Burns                       $16.25
2/16/2023                 Pro Hac Vice admission, J. Bair                                      $200.00
2/24/2023                 Pro Hac Vice admission,T. Burns                                      $200.00
Total Expenses                                                                                 $435.30


                                      Timekeeper Summary
Name                                          Hours                  Rate                      Amount
Alyssa Turgeon                                  0.10              $360.00                       $36.00
Brenda Horn                                     3.10              $360.00                     $1,116.00
Brian Cawley                                    5.40              $420.00                     $2,268.00
Jesse Bair                                     33.90              $625.00                    $21,187.50
Karen Dempski                                   1.70              $360.00                      $612.00
Leakhena Au                                    17.30              $420.00                     $7,266.00
Nathan Kuenzi                                  17.80              $420.00                     $7,476.00
Timothy Burns                                  27.20              $975.00                    $26,520.00



                                                                  Total Due This Invoice: $66,916.80
